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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
JOSEPH DELLA VECCHIA,
Plaintiff,
v, Case No:

CAPITAL ONE BANK, N.A.,

Defendant DEMAND FOR JURY TRIAL

PLAINTIFF’S COMPLAINT
WITH INJUNCTIVE RELIEF SOUGHT

COMES NOW, Plaintiff, JOSEPH DELLA VECCHIA (“Mr. Della Vecchia”
or “Plaintifi”), by and through the undersigned counsel, and hereby sues and files this
Complaint and Dernand for Jury Trial with Injunctive Relief Sought against Defendant,
CAPITAL ONE BANK, N.A. (“Defendant”) and in support thereof states as follows:

Introduction
l. This action arises out of a “Debt” or “Consumer Debt” as defined by Fla. Stat. §
559.55 (6) and Defendant’s violations of the Restrictions on Use of Telephone
Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer Collection
Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect such
Debt by using an automatic telephone dialing system or an artificial or prerecorded
voice to call Mr. Della Vecchia’s Cellular Telephone after Mr. Della Vecchia
expressly revoked consent for Defendant to place calls to his Cellular Telephone,

which can reasonably be expected to harass Mr. Della Vecchia.

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2. This Court has subject matter jurisdiction over the instant case under 28 U.S.C.
§1331.

3. Jurisdiction of this Court also arises under Fla. Stat. § 559.77 (1).

4. Venue lies in this District pursuant to 28 U.S.C. § 1391 (b), as a substantial part of the
events or omissions giving rise to the claims occurred in this judicial district.

Par_¢ies

5. Plaintiff, Mr. Della Vecchia, was and is a natural person and, at all times material
hereto, is an adult, a resident of Hillsborough County, Florida and a “debtor” or
“consumer” as defined by Fla. Stat. § 559.55 (8).

6. Mr. Della Vecchia is the regular user and subscriber of the cellular telephone number
727-***-3630 (“Mr. Della Vecchia’s Cellular Telephone”), and thereby is the “called
party” as referenced in the TCPA, 47 U.S.C. § 227 (b) (l) (A) (iii).

7. At all times material hereto, Defendant was and is a national bank with its
headquarters located at 8000 Tower Crescent Drive, 16th Floor, Tysons Corner, VA
21182.

Statements of Fact

8. Mr. Della Vecchia opened a line of credit with Defendant for personal household
purposes (“Account”)

9. Sometime thereafter, Mr. Della Vecchia fell behind on his monthly payments to

Defendant and incurred an outstanding balance on the Account (“Debt”).

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10. In or around March of 2017, Defendant began placing calls to Mr. Della Vecchia’s
Cellular Telephone in attempts to collect the Debt.

11. Mr. Della Vecchia answered several of Defendant’s first few calls and repeatedly
demanded that Defendant stop calling his Cellular Telephone.

12. Despite Mr. Della Vecchia’s repeated demands that Defendant stop calling his
Cellular Telephone, Defendant continued to place calls to Mr. Della Vecchia’s
Cellular Telephone in attempts to collect the Debt.

13. Defendant called Mr. Della Vecchia’s Cellular Telephone at least forty-five (45)
times thereafter.

14. Upon answering at least one of Defendant’s first few calls, Mr. Della Vecchia heard a
pause before he was connected to a live representative of Defendant

15. Mr. Della Vecchia has been harassed by Defendant’s calls due to the frequency and
timing of each of the calls.

16. All of Defendant’s calls to Mr. Della Vecchia’s Cellular Telephone were placed in an
attempt to collect the Debt.

17. Since January 2015, Defendant has had at least three hundred forty-nine (349)
complaints regarding its telephone contact With consumers, most of which are
categorized as “Frequent or repeated calls” filed against it with the Consumer
Financial Protection Bureau. Exhibit A.

Count 1: Violation of the Teleghone Consumer Protection Act
18. Mr. Della Vecchia re-alleges paragraphs 1-17 and incorporates the same herein by

reference.

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19. The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. § 227 (b) (1)
prohibits any person

(A) to make any call (other than a call made for
emergency purposes or made With the prior express
consent of the called party) using any automatic
telephone dialing system or an artificial prerecorded
voice - (iii) to any telephone number assigned to a

paging service, cellular telephone service, . . . or
any service for which the called party is charged for
the call.

20. Mr. Della Vecchia revoked consent to have Defendant call his Cellular Telephone by
the use of an automatic telephone dialing system (“ATDS”) or artificial voice or
prerecorded message in or around March 2017, when he expressly told Defendant to
stop calling him.

2l. Despite this revocation of consent, Defendant thereafter called Mr. Della Vecchia’s
Cellular Telephone at least forty-five (45) more times.

22. Defendant did not place any emergency calls to Mr. Della Vecchia’s Cellular
Telephone.

23. Defendant willfully and knowingly placed non-emergency calls to Mr. Della
Vecchia’s Cellular Telephone.

24. Mr. Della Vecchia knew that Defendant called Mr. Della Vecchia’S Cellular
Telephone using an ATDS because he heard a pause when he answered at least one of
the first few calls from Defendant on his cellular telephone before a live

representative of Defendant came on the line.

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25. Mr. Della Vecchia knew that Defendant called Mr. Della Vecchia’s Cellular
Telephone using a prerecorded voice because Defendant left Mr. Della Vecchia at
least one voicemail using a prerecorded voice.

26. Defendant used an ATDS when it placed at least one call to Mr. Della Vecchia’s
Cellular Telephone.

27. Under information and belief, Defendant used an ATDS when it placed at least ten
calls to Mr. Della Vecchia’s Cellular Telephone.

28. Under information and belief, Defendant used an ATDS when it placed at least
twenty calls to Mr. Della Vecchia’s Cellular Telephone.

29. Under information and belief, Defendant used an ATDS when it placed all calls to
Mr. Della Vecchia’s Cellular Telephone.

30. At least one call that Defendant placed to Mr. Della Vecchia’s Cellular Telephone
was made using a telephone dialing system that has the capacity to store telephone
numbers to be called.

31. At least one ca11 that Defendant placed to Mr. Della Vecchia’s Cellular Telephone
was made using a telephone dialing system that has the capacity to produce telephone
numbers to be called without human intervention

32. At least one call that Defendant placed to Mr. Della Vecchia’s Cellular Telephone
was made using a telephone dialing system that uses a random number generator.

33. At least one call that Defendant placed to Mr. Della Vecchia’s Cellular Telephone

was made using a telephone dialing system that uses a sequential number generator.

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34. At least one call that Defendant placed to Mr. Della Vecchia’s Cellular Telephone
was made using a prerecorded voice.

35. Defendant has recorded at least one conversation with Mr. Della Vecchia.

36. Defendant has recorded more than one conversation with Mr. Della Vecchia.

37. Defendant has corporate policies and procedures in place that permit it to use an
ATDS or artificial voice or prerecorded message to place call individuals to collect
alleged debts from said individuals, such as Mr. Della Vecchia, for its financial gain.

38. Defendant has corporate policies and procedures in place that permit it to use an
ATDS or artificial voice or prerecorded message, and to place calls to individuals
using such devices, just as it did to Mr. Della Vecchia’s Cellular Telephone, with no
way for the called party and recipient of the calls to permit, elect, or invoke the
removal of the called party and recipient of the calls’ cellular telephone number from
Defendant’s call list.

39. The structure of Defendant’s corporate policies and/or procedures permits the
continuation of calls to individuals like Mr. Della Vecchia, despite individuals like
Mr. Della Vecchia revoking any consent that Defendant believes it may have to place
such calls.

40. Defendant knowingly employs methods and has corporate policies and procedures
that do not permit the cessation or suppression of calls placed using an ATDS to
individual’s cellular telephones, like the calls that it placed to Mr. Della Vecchia’s

Cellular Telephone.

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41. Defendant has corporate policies to abuse and harass consumers like Mr. Della
Vecchia despite having actual knowledge that they are calling the wrong person and
that the called person does not wish to be called.

42. As direct evidence of Defendant’s corporate policies and procedures as described
above, since January 2015, Defendant has had at least three hundred forty-nine (349)
complaints regarding its telephone contact with consumers, most of which are
categorized as “Frequent or repeated calls” filed against it with the Consumer
Financial Protection Bureau. Exhibit A.

43. Defendant’s phone calls and texts harmed Mr. Della Vecchia by trespassing upon and
interfering with Mr. Della Vecchia’s rights and interests in his Cellular Telephone
line.

44. Defendant’s phone calls and texts harmed Mr. Della Vecchia by wasting his time.

45. Defendant’s phone calls and texts harmed Mr. Della Vecchia by being a nuisance and
causing him aggravation

46. Defendant’s phone calls and texts harmed Mr. Della Vecchia by causing him to lose
sleep.

47. Defendant’s phone calls and texts harmed Mr. Della Vecchia by causing him anxiety.

48. Defendant’s phone calls and texts banned Mr. Della Vecchia by c§lsing him
emotional distress.

49. Defendant’s phone calls and texts harmed Mr. Della Vecchia by causing him

embarrassment

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50. Defendant’s phone calls and texts harmed Mr. Della Vecchia by causing a risk of
personal injury to Mr. Della Vecchia due to interruption and distraction.
51. Defendant’s phone calls and texts harmed Mr. Della Vecchia by invading his privacy.
52. All conditions precedent to this action have occurred.
WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment
against Defendant as follows:
a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),
which allows for $500 in damages for each such violation;
b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);
c. Awarding Plaintiff costs;
d. Ordering an injunction preventing further wrongful contact by the
Defendant; and
e. Any other and further relief as this Court deems equitable.
Count g: Violation of the Florida CoMner Collection Prl_lctices Act (“FCQPA ”)
53.' Mr. Della Vecchia re-alleges paragraphs 1-17 and incorporates the same herein by
reference.
54. Defendant violated the FCCPA. Defendant’s violations include, but are not limited
to, the following:
a. Defendant violated Fla. Stat. § 559.72(7), by willfully
communicating with Mr. Della Vecchia with such frequency as can
reasonably be expected to harass Mr. Della Vecchia, and by

continuing to place calls to Mr. Della Vecchia’s Cellular

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Telephone despite Mr. Della Vecchia’s repeated demands that
Defendant cease its calls, which can reasonably be expected to
harass Mr. Della Vecchia.

55. As a result of the above violations of the FCCPA, Mr. Della Vecchia has been
subjected to unwarranted and illegal collection activities and harassment for which he
has been damaged.

56. Defendant’s actions have damaged Mr. Della Vecchia by invading his privacy.

57. Defendant’s actions have damaged Mr. Della Vecchia by causing him
embarrassment

58. Defendant’s actions have damaged Mr. Della Vecchia by causing him emotional
distress.

59. Defendant’s actions have damaged Mr. Della Vecchia by causing him stress.

60. Defendant’s actions have damaged Mr. Della Vecchia by causing him anxiety.

61. Defendant’s actions have damaged Mr. Della Vecchia by causing him aggravation

62. Defendant’s actions have damaged Mr. Della Vecchia by causing him loss of sleep.

63. Defendant’s actions have damaged Mr. Della Vecchia by banning his reputation

64. It has been necessary for Mr. Della Vecchia to retain the undersigned counsel to
prosecute the instant action, for which he is obligated to pay a reasonable attorney’s
fee.

65. All conditions precedent to this action have occurred.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

against Defendant as follows:

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a. Awarding Statutory damages as provided by §559.77, Fla. Stat.;

b. Awarding actual damages;

c. Awarding punitive damages;

d. Awarding costs and attorneys’ fees;

e. Ordering an injunction preventing further wrongful contact by the
Defendant; and

f. Any other and further relief as this Court deems equitable

DEMAND FOR JURY TRIAL

Plaintiff, Joseph Della Vecchia, demands a trial by jury on all issues so triable.

Respectfully submitted this December 26, 2017,

/s/ Michae! A. Zfegler
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